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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
NORMA KNOPF and MICHAEL KNOPF,         :              17cv5833(DLC)
                                       :
                         Plaintiffs,   :                   ORDER
               -v-                     :
                                       :
FRANK M. ESPOSITO, DORSEY & WHITNEY,   :
LLP, NATHANIEL H. AKERMAN, EDWARD S.   :
FELDMAN, and MICHAEL HAYDEN SANFORD,   :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     In a letter of December 29, 2020, defendant Frank Esposito

requested that the Court endorse a Stipulation and Proposed

Order regarding the redaction and sealing of certain

electronically filed documents in the above-captioned case.

Pursuant to Section 8 of this Court’s Individual Practices,

motions for approval of sealed or redacted filings in civil

cases must be filed in public view, must explain the particular

reasons for seeking to file that information under seal, and

should not include confidential information sought to be filed

under seal.   Supporting papers must be separately filed

electronically and may be filed under seal or redacted only to

the extent necessary to safeguard information sought to be filed

under seal.
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     The December 29 request failed to explain the particular

reasons for seeking the redaction or sealing of the material, as

required by Section 8 of this Court’s Individual Practices.

Accordingly, it is hereby

     ORDERED that Mr. Esposito’s request is denied.


Dated:    New York, New York
          December 30, 2020




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